      Case 2:03-cr-00371-JAM-EFB Document 566 Filed 01/25/07 Page 1 of 1

                     -UNITED STATES DISTRICT COURT FOR THE

                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                 )
                                          )                 Case No. 2:03-cr-0371-MCE
             Plaintiff,                   )                 ORDER FOR RELEASE OF
v.                                        )                  PERSON IN CUSTODY
                                          )
      DEREK LADONTE MADDOX,               )
          BRENT D. BLAKE,                 )
                                          )                               FILED
             Defendant.                                           January 24, 2007
                                                                C LE R K , U S D IS T R IC T C O U R T
                                                                   E A S T E R N D IS T R IC T O F
                                                                           C A LIFO R N IA

                                                                           DEPUTY CLERK

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release material witness Danita Fuller, Case No.

2:03-cr-0371-MCE, from custody for the following reasons:

                     Release on Personal Recognizance

                     Bail Posted in the Sum of $

                            Unsecured Appearance Bond

                            Appearance Bond with 10% Deposit

                            Appearance Bond with Surety

                            Corporate Surety Bail Bond

                      x     (Other) Ms. Fuller testified at trial on January 23, 2007 and was ordered to be

                            released by the Court at the hearing on January 23, 2007.

             Issued at Sacramento, CA on January 24, 2007            at 9:45 a.m.




                                                   ________________________________
                                                   MORRISON C. ENGLAND, JR.
                                                   UNITED STATES DISTRICT JUDGE
